       Case: 1:18-cr-00045 Document #: 22 Filed: 01/31/18 Page 1 of 1 PageID #:63



                                                 IN THE
                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ITLINOIS



UNITED STATES OF AMERICA,
Plaintiff,

                                                              case Number     /tez      /5
V.
Defendant.

                                                                            0d        (o''i' 4)
                                                              ,"0," G, lbut    uu/tlo
T**u// Tl,n"s
                                                ORDER
                               APPOINTING COUNSEL UNDER CJA
personRepresented,
                      'frru-c// fhm"s                                                UndersEAL Yrs     or6i)
Defendant number:         5
pavmentcateporv: AppEAL                       MTsDEMEANoR pETwoFFENSE                  OTHER
                                 @
Tvpe of Percon Represented:   fru         JUVENTLE orHER
                              l-/
Representation   Type: BP 68
                          \-/  cr CH DRt EW Ex                   HC      JU     MA     JRV

                         MC ML NT OT PA PR PT                    SR      WI    WW




                                        SUBS FOR FEDERAL DEFENDER
                                        SUBS FOR PANEL ATTORNEY
STANDBY COUNSEL                         SUBS FOR RETAINED ATTORNEY




Date of Order:                                            Nunc Pro Tunc Date:



                                                 ORDER
                              APPO!NTING INTERPRETER UNDER CJA
lnterpreter   needed YES                                                        Under SEAI yES    or   NO

Prior authorization shall be obtained for services in excess of 5800.
Expected to exceed YES NO                 Prior Authorization Approved   YES    NO

Signature of Presiding Judge or by Order of the Court

Date of Order:                                          Nunc Pro Tunc Date:                  or NONE
